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 Nos. 21-4072, 22-3351, 23-3196, 23-3324, 23-3366, & 23-3417

                                In the

   United States Court of Appeals
                   For the Sixth Circuit
                         __________________

      DAYTON POWER & LIGHT COMPANY, d/b/a AES OHIO, et al.,

                                                              Petitioners,
                                  v.

            FEDERAL ENERGY REGULATORY COMMISSION,

                                                             Respondent.
                          _________________

              On Petitions for Review of Orders of the
              Federal Energy Regulatory Commission
                        __________________

FINAL BRIEF OF INTERVENOR DUKE ENERGY OHIO, INC.
   IN SUPPORT OF RESPONDENT FEDERAL ENERGY
 REGULATORY COMMISSION IN NOS. 23-3324 AND 23-3417
                  __________________
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                         December 21, 2023
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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT

                  Disclosure of Corporate Affiliations
                        and Financial Interest
 Sixth Circuit
 Case Number: 21-4072 (lead)                       Case Name: Dayton Power & Light Company, et al. v. FERC
 Name of counsel: Matthew A. Fitzgerald

 Pursuant to 6th Cir. R. 26.1, Duke Energy Ohio, Inc.
                                                            Name of Party
 makes the following disclosure:
 1.     Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
        identity of the parent corporation or affiliate and the relationship between it and the named
        party:

  Yes. Duke Energy Ohio is a direct, wholly-owned subsidiary of Cinergy Corp, which in turn is a
  direct, wholly-owned subsidiary of Duke Energy Corporation (NYSE: DUK), a publicly traded
  company listed on the New York Stock Exchange. Certain investment management companies
  —such as Vanguard Group, Inc.—may from time-to-time, through their subsidiaries and
  affiliates, own 10% or more of Duke Energy Corp. stock. Otherwise, no entity owns 10% or
  more of Duke Energy Corp.’s stock.

 2.     Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
        in the outcome? If yes, list the identity of such corporation and the nature of the financial
        interest:
  No.




                                             CERTIFICATE OF SERVICE

                               December 21, 2023
 I certify that on _____________________________________         the foregoing document was served on all
 parties or their counsel of record through the CM/ECF system if they are registered users or, if they are not,
 by placing a true and correct copy in the United States mail, postage prepaid, to their address of record.

                                 s/ Matthew A. Fitzgerald




           This statem ent is filed twice: when the appeal is initially opened and later, in the principal briefs,
               im m ediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form .

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                  ORAL ARGUMENT STATEMENT

     Duke Energy Ohio, Inc. (“Duke”) agrees with the statements of the

petitioners and the Commission that oral argument would assist the

Court.

                           INTRODUCTION

     There is not a whisper of evidence or argument by the Office of the

Ohio Consumers’ Counsel that the overall return on equity of 11.38% in

Duke’s settlement is unjust and unreasonable. The Commission noted

that no such evidence existed in the record. Complaint Order P 64,

JA488; Complaint Rehearing Order P 28, JA587 (“OCC has failed to

provide any evidence to demonstrate that the overall ROEs are unjust

and unreasonable.”). This alone should defeat OCC’s appeal.

     Yet instead, OCC’s theme is that because we can see the adder

inside Duke’s settlement, OCC should be able to extract it somehow and

challenge it standing alone. OCC’s position fails.

     Duke’s settlement is like a chocolate-chip cookie. The adder is the

chocolate chips: visible, but baked in. In the oven of settlement, the

dough expanded, the chocolate chips melted into the dough, and it all

formed into one unified confection. OCC does not want to throw away


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Duke’s cookie and start over. It wants the chocolate chips pulled out.

But Duke negotiated for the chocolate chips and got them baked into its

cookie. Everyone agreed that Duke’s cookie would be chocolate chip,

and the Commission approved it holistically. In the years since, Duke’s

customers got the benefits Duke gave them in exchange for its chocolate

chip cookie. Yet now, OCC wants the chocolate chips yanked out. The

Commission rightly rejected this effort. It refused to destroy Duke’s

settlement and its (unchallenged) cookie by trying to dig out the

chocolate chips. See Complaint Rehearing Order P 28, JA586-87

(refusing to “strip[] out a single component of an intricate financial

package that the parties to the settlement found balanced and thus

agreeable”). This Court should deny the OCC’s petition.




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                 STATEMENT OF JURISDICTION

     Duke adopts the jurisdictional statement in the petitioners’ brief

filed by Dayton Power & Light Co., American Electric Power Service

Corp., and FirstEnergy Service Co. AEP Br. 6-8.

                   STATEMENT OF THE ISSUES

     This brief addresses the fourth issue stated in the Brief for

Respondent Federal Energy Regulatory Commission: “Whether the

Commission reasonably declined to modify comprehensive rate

settlements to adjust negotiated returns on equity where the

Commission had never specifically granted [RTO] Adders.” FERC Br. 4.

The answer is yes. The Commission reasonably declined to disturb

Duke’s settlement, and this Court should deny the OCC’s petition.

                    STATEMENT OF THE CASE

     Duke adopts pages 25-27 of Respondent FERC’s brief. FERC Br.

25-27.

                    SUMMARY OF ARGUMENT

     The OCC’s petition for review should be denied.

     Duke’s settlement was extensively negotiated, including

participation by intervenor Buckeye Power and every other


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transmission customer in Duke’s zone who chose to participate. The

overall ROE of 11.38%, including the adder, was an intricate

compromise. That compromise settled not only the ROE itself (which

was lower than Duke initially requested, yet higher than a

transmission customer had initially counter-proposed), but also

multiple other issues. Among them, to achieve the ROE, Duke assumed

sole responsibility for millions of dollars in costs, reflecting its

transition costs into PJM. Duke also assumed the great majority of

responsibility for the risk that it would be ordered to pay several billion

dollars over 60 years for MISO projects approved during its departure

process. The parties even agreed to a non-severability provision,

linking all of these terms together into one inseparable settlement. The

Commission then examined the overall settlement and found it fair and

reasonable. The OCC and Buckeye should not be allowed to pull the

adder out of this settlement—especially given that they have never

proved, or even argued, that the overall ROE is unjust and

unreasonable.

      OCC and Buckeye cannot isolate Duke’s adder. Their theory that

Duke could have obtained the adder through a separate proceeding is


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nothing but supposition. And parties make comprehensive settlements

all the time in the shadow of what a court or agency is “likely” to do—

but that does not undermine those settlements. Nor is it unduly

discriminatory against customers that comprehensive settlement-based

rates may have components different from other companies’ rates. The

adder is identifiable in Duke’s ROE. But it is not subject to a separate

challenge.

     Section 206 of the Federal Power Act, 16 U.S.C. § 824e(a), and

both circuit and agency precedents require the Commission to find that

the overall ROE is unjust and unreasonable before revisiting it. This

view of the statute, and agency policy, make extra good sense as applied

to comprehensive settlements like Duke’s. The Commission rightly

refused to revisit the adder component of Duke’s settlement without

any showing by the OCC that the overall rate had become unjust and

unreasonable.




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                             ARGUMENT

     The Commission properly declined to re-open Duke’s settlement

because the overall ROE remained fair and reasonable.

I.   Duke’s settlement was extensively negotiated,
     meaningfully compromised, found fair by the Commission,
     and its overall ROE remains unchallenged today.

     There is no evidence or argument here that Duke’s overall ROE of

11.38% is unjust or unreasonable under § 206. The OCC never made

any such argument to the Commission. Complaint Order P 64, JA488

(noting that the “OCC has not adduced in this proceeding” any

“evidence that the overall ROE has become unjust and unreasonable”).

The Commission repeated the point on rehearing. “OCC has failed to

provide any evidence to demonstrate that the overall ROEs are unjust

and unreasonable, such as by showing that the overall rate is outside of

the ‘zone of reasonableness.’” Complaint Rehearing Order P 28, JA587.

No one argued at the Commission, and no one is saying now, that the

ROE deal struck in 2014 is unjust and unreasonable.

     Instead, OCC asks this Court to cut out a piece of Duke’s long-

settled ROE. But the ROE, including the adder, was set by an approved

settlement—a settlement that compromised on multiple financial


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issues. Duke negotiated the settlement with every one of its

transmission customers who cared to participate. See Addendum at A-9

(PJM Interconnection, L.L.C., Docket Nos. ER12-91-000 and ER12-92-

000, Settlement Agreement, Explanatory Stmt. at 5 (filed Oct. 30,

2014)) (explaining that Duke had given notice to every transmission

customer with load in Duke’s zone, inviting them to participate in these

negotiations). For whatever reason, OCC did not participate, but

Buckeye did, among others. All of the transmission customers

negotiating with Duke had every incentive to keep Duke’s ROE down

and to procure other financial benefits for themselves (and thus for

consumers). And they did.

     The adder, along with many other compromise financial positions,

thus was agreed to in a settlement between Duke and its customers

after years of litigation and negotiations about what rates Duke could

charge as a member of PJM after it moved from another RTO. The

adder was part of a package that resolved many complex issues and

resulted in Duke accepting a far lower recovery than it had initially

requested. Duke accepted and relied on the adder as a key part of a




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settlement in which it agreed to forgo millions and potentially billions of

dollars that it was otherwise seeking to recover.

     In fact, the Commission repeatedly rejected early versions of the

Duke settlement, without prejudice, because it wanted to make sure

that all relevant parties had notice of the issues being addressed and

settled. PJM Interconnection, L.L.C., 151 FERC ¶ 61,029 at PP 2-5

(2015) (explaining the history of the settlement). In late 2013, Duke

“provided notice to all PJM transmission customers with load in the

[Duke] zone that settlement discussions in this proceeding had resumed

and that settlement discussions might address transmission rate

matters beyond the return o[n] equity issue.” Id. at P 4. Three

companies, including current intervenor Buckeye Power, then joined

the others participating in the negotiations. Id. Nearly a year later, all

parties reached a comprehensive settlement. Id.

     The key parts of the Duke settlement are apparent on its face.

They reflect meaningful and comprehensive compromise.

     First, the agreed ROE number itself is an obvious compromise.

Duke first asked for 12.38%—the same ROE it had as a part of MISO

before it switched to PJM. See Addendum at A-1 (PJM Interconnection,


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L.L.C., Docket Nos. ER12-91-000 and ER12-92-000, Initial Filing,

Proposed Att. H-22A, pg. 4, line 30 (filed Oct. 14, 2011)). Transmission

customers objected, urging that 12.38% was too high. One customer

proposed 10.00%, including any adder, as a fair ROE. See Addendum at

A-4 (PJM Interconnection, L.L.C., Docket Nos. ER12-91-000 and ER12-

92-000, Protest, Motion to Intervene and Request for Suspension and

Hearings by American Municipal Power at 23 (filed Nov. 4, 2011)). The

parties ultimately settled on 11.38%, including the adder—some 100

basis points lower than Duke had requested and had previously

received under MISO. Meanwhile the transmission customers agreed

to accept an 11.38% ROE—above their initial position.

     To secure a compromise agreement at an overall ROE of 11.38%,

Duke made several obvious concessions. One is that Duke agreed to

protect its transmission customers from 100 percent of “PJM Transition

Costs,” and “Internal Integration Costs.” These costs represented

millions of dollars. Addendum at A-31 (Settlement Agt., pg. 8) (defining

“PJM Transition Costs” as including payment of $2.8 million, not

including MISO exit fee costs).




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     Another concession from Duke was that it would protect its

transmission customers from 100 percent of “Legacy MTEP Costs” for

the 2012-2014 period, and from 70 percent of the Legacy MTEP Costs

forever. The Legacy MTEP Costs refer to the possibility that Duke

would have been forced to pay a sizable share of the Multi-Value Project

costs approved by its former RTO just before Duke departed for PJM.

Addendum at A-30 (Settlement Agt., pg. 7) (defining “Legacy MTEP

Costs”).

     Those Multi-Value Projects were projected to cost billions of

dollars. MISO Transmission Owners v. FERC, 860 F.3d 837, 839 (6th

Cir. 2017) (“But in early December 2011, just weeks before Duke’s

scheduled departure, MISO approved a portfolio of sixteen projects,

estimated to cost billions of dollars in total.”). In fact, Duke’s projected

share alone soared into the billions. At the time of the settlement, in

late 2014, Duke faced the risk that it would owe $2.3 billion over a 60-

year period for the Multi-Value Projects. Midwest Indep. Transmission

Sys. Operator, Inc., Opinion No. 539, 153 FERC ¶ 61,101 at P 89 (2015).

Thus, the customers negotiating with Duke achieved certainty that the

2012-2014 Multi-Value Project costs would never flow through to them


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at all, and certainty going forward that no more than 30 percent of

those future costs would flow through to them, either. In exchange for

these important things, the customers accepted the 11.38% ROE for

Duke—again, well above what they had proposed, but still well below

what Duke wanted.

     After all, ROE percentages translate into dollars of revenue. OCC

and Buckeye suggest that the adder and its revenue dollars somehow

were not meaningful to the overall compromise. But they offer no basis

for the counter-intuitive idea that Duke would have traded millions of

dollars of benefits to consumers without accounting for, and relying on,

every dollar that would result from the entire agreed ROE, regardless of

its component parts.

     The parties also agreed that none of them would ask the

Commission to increase or decrease the 11.38% ROE before June 1,

2017. Addendum at A-33-34 (Settlement Agt., pg. 10-11). The only

agreed exception was that if Duke ceased participating in an RTO

before June 1, 2017, then the customers reserved the right to challenge

the adder. Id.




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     Finally, the parties all agreed to a non-severability provision.

That is, “the various provisions of this Settlement Agreement are not

severable” and become effective all together or not at all. Addendum at

A-38 (Settlement Agt., pg. 15). The non-severability provision clarifies

that Duke and the customers agreed they were settling multiple issues

at once, dependent on each other, and that neither the Commission nor

anyone else could discard any single aspect of the agreement while

keeping the others. The Commission could not have approved solely the

ROE, or the adder, separate from everything else. And in fact, when

the Commission rejected an earlier version of the settlement, it said just

that. See PJM Interconnection, L.L.C., 144 FERC ¶ 61,217 at P 23

(2013) (noting that “[a]lthough the ROE provisions of the proposed

Settlement appear fair and reasonable, the non-severability provisions

preclude our acceptance” of just those provisions standing alone).

     So when the Commission did ultimately approve Duke’s

settlement in April 2015, it was on an all-or-nothing basis, by the

agreed terms of the settlement itself. PJM Interconnection, L.L.C., 151

FERC ¶ 61,029 at P 14. The customers then received their benefits

under the settlement. Duke paid all of its integration and PJM


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transition costs. Duke assumed the risk of billions of dollars in Multi-

Value Project costs. (Years later, this Court ruled that MISO could not

inflict most of those costs onto Duke, see MISO Transmission Owners,

860 F.3d at 839). Duke remained in PJM, and still does. And Duke has

carried on with its agreed and approved ROE, including the adder. No

one in 2014 argued that the big-picture deal struck was unfair. Nor

does anyone argue now that the big-picture deal struck is unjust or

unreasonable.

      The Commission is exactly right: “comprehensive settlement

packages were the result of extended negotiations among multiple

parties on a variety of issues stemming from [Duke’s] entry into PJM,

ultimately reaching complex agreements that no party contested.”

FERC Br. 57.

II.   OCC and Buckeye’s efforts to isolate Duke’s adder fail.

      OCC and Buckeye offer a handful of reasons why, in their view,

the Commission must reconsider the adder separately from the rest of

the settlement. All these reasons fail.




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     A.    It does not matter if Duke “likely” could have
           obtained the adder in a separate proceeding.

     OCC suggests that Duke “likely” could have obtained the adder

from the Commission regardless of the settlement. OCC Br. 35-36.

     OCC’s argument is supposition. The Commission stated that it

“likely” would have granted an adder to Duke if it had been sought in a

separate proceeding. Complaint Rehearing Order P 28, JA586-87. And

the Commission had been clear, going back to Order 679, that it would

consider adders case-by-case and retained discretion to deny them.

Order No. 679, 116 FERC ¶ 61,057 at P 326 (2006), order on reh’g,

Order No. 679-A, 117 FERC ¶ 61,345 (2006). Thus, “likely” is

inherently not certain. That Duke probably or likely could have gotten

the adder in a separate proceeding does not matter.

     Parties make settlements all the time in the shadow of what a

court “probably” or “likely” would do with their case. Parties even settle

cases during appeals, when everyone knows that affirmance is by far

the most likely outcome. But that does not undermine those

settlements or their comprehensive nature. The theory that customers

may not have had much “leverage” over the adder piece does not mean

that somehow Duke ignored the adder’s contribution to overall ROE

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(and expected resulting revenues) when Duke agreed to trade millions

of dollars in customer benefits for the overall ROE.

     Nothing about the agreement suggests that it would have been

identical if the overall ROE had been agreed at only 10.88%, or 10.38%.

On the contrary, the agreement’s non-severability provision says the

opposite. After all, when the dust settles no customer should care much

about individual rate components. They care what the overall rate they

will have to pay will be. Here, they agreed to 11.38%.

     OCC’s argument that Duke likely could have gotten the adder

anyway also fails to address the Commission’s reasoning. The adder is

baked into the settlement, and how the parties valued it or pivoted

around it in settling numerous costly issues on an agreed non-severable

basis cannot now be determined. Complaint Order P 64, JA488;

Complaint Rehearing Order PP 28-29, JA586-88. The only thing that is

known is that everything was on the table, and the parties contested

the overall ROE value, which included the adder. See Addendum at A-4

(PJM Interconnection, L.L.C., Docket Nos. ER12-91-000 and ER12-92-

000, Protest, Motion to Intervene and Request for Suspension and

Hearings by American Municipal Power at 23 (filed Nov. 4, 2011)).


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     B.      There is no “undue discrimination” against Duke’s
             customers.

     Next, OCC claims that consumers are treated differently in the

Dayton/AEP versus Duke/American cases, and that this is unfair. OCC

Br. 50-51.

     One good resolution of that difference would be for all utilities to

have the adder, for the reasons outlined in AEP’s opening brief. Indeed,

if this Court accepts AEP’s contentions that the Commission went too

far in removing AEP’s adder, it hardly need address OCC’s contentions

that the Commission did not go far enough when it preserved Duke’s

and American’s adders. OCC’s petition can be denied on that ground

alone.

     In any case, rate disparities based on settlements are not unduly

discriminatory. Duke’s customers, unlike AEP or Dayton’s, agreed to

include an adder as part of agreeing to their overall 11.38% ROE. They

took the opportunity to negotiate all aspects of the ROE, combined with

other financial issues, and reached a complex compromise on them.

That factual difference, if the Court’s analysis reaches this far, is

important.



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     Case law recognizes that settlements are important and rate

disparities based on good-faith settlements are not unduly

discriminatory. E.g., United Mun. Distrib. Grp. v. FERC, 732 F.2d 202,

212 (D.C. Cir. 1984) (“a rate disparity among customers of the same

public utility that was solely the result of a settlement among some of

the parties was not unlawfully discriminatory”). See also Cities of

Bethany v. FERC, 727 F.2d 1131, 1139-40 (D.C. Cir. 1984) (noting that

“because the preservation of private contracts within the context of a

rate-setting statutory scheme promotes economic stability,” a

settlement setting a rate “may justify a rate disparity, rendering it

lawful”). There is no suggestion in this case of bad faith in negotiation

or a sweetheart deal. Cf. Cities of Bethany, 727 F.2d at 1140.

     Duke settled with every one of its customers who wished to

participate, and settled its rate issues as to all of its customers

uniformly. The simple fact that other utilities have different ROEs is

far from a showing of undue discrimination. The Commission has

previously approved a variety of ROEs for different companies in

different circumstances. See Pub. Serv. Elec. & Gas Co., 124 FERC ¶

61,303 at P 1 (2008) (approving a 11.18% base ROE plus a 50 point


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adder, for a total ROE of 11.68% for PSE&G); Pub. Serv. Elec. & Gas

Co., 177 FERC ¶ 61,004 (2021) (letter order approving a pre-arranged

settlement agreement reducing the PSE&G ROE to 10.4%); S.C. Elec. &

Gas Co., 137 FERC ¶ 61,081 at P 4 (2011) (approving a settlement

containing a base ROE of 10.55%); Trans Bay Cable LLC, 112 FERC ¶

61,095 at P 26 (2005) (setting forth initial rate principles to apply to

Trans Bay, including a 13.5% ROE based on risks assumed by the

company); Ala. Power Co., 167 FERC ¶ 61,273 at P 4 (2019) (approving

a 10.6% ROE for Southern Company, with a five-year rate moratorium);

Ky. Utils. Co., 129 FERC ¶ 61,099 at P 4 (2009) (approving a settlement

providing for an 11% ROE applicable to a series of wholesale service

contracts with municipal customers).

     C.    The adder is not an artificial inflation of Duke’s ROE,
           and just because it is identifiable does not make it
           severable from the settlement.

     Buckeye suggests that the adder is something extra, that

inherently pushes Duke’s ROE higher than the Commission would ever

otherwise allow. Buckeye Br. 14. That is not true, and there is no

evidence of it here.




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     To be clear, the Commission never needed to, and never did,

approve Duke’s adder as a stand-alone rate change. All it did was find

that the overall deal struck—which Duke’s customers agreed to—was

fair and reasonable. PJM Interconnection, L.L.C., 151 FERC ¶ 61,029

at P 14 (“We approve the October 30, 2014 Settlement. . . . The

Settlement appears to be fair, reasonable, and in the public interest,

and is uncontested.”). The approval order never mentions the adder.

The Commission confirmed that it “approved a comprehensive

settlement package, with a single overall figure for Duke’s and

[American’s] ROEs.” Complaint Rehearing Order P 30, JA588. In

short, the settlement ROE was 11.38%. Had that overall ROE been

“unfair” or “unreasonable” in view of the broader settlement package, it

would not have been approved.

     Further, Commission precedents confirm that ROE incentives

cannot push overall ROE above the zone of reasonableness. “Consistent

with the Commission’s current policy on ROE incentives as set forth in

Order No. 679, a utility’s total ROE, inclusive of incentives, must be

within the composite zone of reasonableness.” DATC Path 15, LLC, 177

FERC ¶ 61,115 at P 69 (2021). See also Order No. 679, 116 FERC ¶


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61,057 at P 2 (“[T]he Commission will permit incentives only if the

incentive package as a whole results in a just and reasonable rate . . .

an incentive rate of return sought by an applicant must be within a

range of reasonable returns and the rate proposal as a whole must be

within the zone of reasonableness before it will be approved.”). That is,

even if an “incentive” pushes ROE higher than it might have otherwise

been, see 18 C.F.R. § 35.35(e), it cannot push the ROE above the zone of

reasonableness. What matters, especially in a composite settlement, is

the overall ROE.

     Next, Buckeye asserts that Duke’s view would allow it to keep the

adder forever, even if it departed from an RTO after 2017.1 Buckeye Br.

14. This argument goes nowhere.

     Leaving an RTO always requires reconsideration of overall ROE.

In fact, the entire negotiation and settlement that led to this case

occurred because Duke departed an RTO (MISO) and joined a different

RTO (PJM). Duke’s rate is now part of the PJM Tariff, so if it leaves

PJM, it will need a new rate. Commission precedent bars a utility from




Under Buckeye’s own theory of the case, Duke cannot leave an RTO,
1


making this (from their perspective) an impossible hypothetical.
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departing from an RTO unless it proposes new replacement rates that

are just and reasonable. Duke Energy Ohio, Inc., 133 FERC ¶ 61,058 at

P 14 (2010) (“the Commission continues to find that a utility may exit

an RTO when it satisfies three requirements . . . (3) the replacement

arrangements are just, reasonable and not unduly discriminatory”).

     In short, Duke would not even be allowed to depart from PJM

without proposing a new transmission rate to the Commission, which

would include an ROE. Whether the new rate, including a proposed

new or continued ROE and its components, was just and reasonable

would either be settled or contested and ruled on at the Commission.

Thus, Duke’s position does not guarantee it the adder forever,

regardless of Duke’s RTO participation.

     Last, the OCC and Buckeye urge that because the settlement

itself identifies the adder, and allowed a separate challenge to it under

certain circumstances, their separate challenge here should also be

allowed. OCC Br. 33-34, Buckeye Br. 18. This argument also fails.

     The settlement states that no party will seek to increase or

decrease the overall ROE from 2014 until at least June 1, 2017.

Addendum at A-34 (Settlement Agt., p. 11). The stated exception is


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that if Duke departed from RTO participation before June 1, 2017, then

the customers could challenge the adder without violating their

agreement to make no challenges to Duke’s ROE during that time. Id.

     This provision does not help OCC or Buckeye’s argument. Duke

never departed from RTO participation. Duke thus upheld its part of

the bargain. Nothing in the settlement suggests that, now that June

2017 has passed, any stand-alone challenge to the adder is allowed.

Instead, default law applies: any challenge to the settlement ROE must

be made to the justness and reasonableness of the overall ROE. And

the idea that the settling customers would have been allowed to object

to the adder if Duke departed an RTO falls far short of proving the

adder was a separable piece of the ROE. Had Duke departed the RTO,

it would have had to propose a new rate anyway, including an ROE.

Allowing the settling customers to argue against any adder in the new

rate does not undercut the comprehensive settlement or its compromise

overall ROE.

     The parties to the settlement understood at the time that the

entire settlement was the result of broad compromise on multiple

issues. They chose not to hash out, at that time, how much of the


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compromise centered on the adder or to what extent—and the

Commission rightly refused to speculate about it years later.

III. Section 206 requires a finding that the overall ROE is
     unjust and unreasonable before baked-in components can
     be revisited.

      AEP contends that § 206 requires the Commission to find the

existing overall ROE “unjust and unreasonable” before it can alter the

rate. See 16 U.S.C. § 824e(a). AEP is right. AEP Br. 49-52. And as

applied to the settlements of Duke (and American), AEP’s argument is

even stronger, and the Commission properly agreed with it.

      Section 206 states that “Whenever the Commission, after a

hearing . . . shall find that any rate . . . collected by any public utility . .

. is unjust, unreasonable, unduly discriminatory or preferential, the

Commission shall determine the just and reasonable rate . . . and shall

fix the same by order.” 16 U.S.C. § 824e(a).

      This Court has held that, in ROE cases, the plain text of the

statute requires the Commission to find a company’s current ROE

unjust and unreasonable before revising that ROE. Emera Maine v.

FERC, 854 F.3d 9, 26 (D.C. Cir. 2017) (referring to “section 206’s

statutory directive that existing rates be found unlawful before FERC


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has the authority to change those rates”). In Emera Maine, the

Commission’s § 206 proceeding set aside a total ROE of 11.14% in favor

of a new ROE 57 basis points lower (10.57%). This Court rejected the

Commission’s action because it had failed to find the overall ROE

unlawful before reducing that ROE. The Court called this rule “a form

of statutory protection to a utility.” Id. at 24.

      Emera Maine applies here because OCC asked the Commission to

revise Duke’s overall ROE of 11.38% down to 10.88% without first

finding the overall ROE unjust and unreasonable. Id. at 26 (noting that

“the zone of reasonableness creates a broad range of potentially lawful

ROEs,” which requires specific rejection of the existing ROE by the

Commission before it can revise or remove components). The

Commission properly refused OCC’s invitation to repeat the error in

Emera Maine.

      In addition, the “Commission itself has, in the past, interpreted

the § 206 burden scheme to require a customer seeking an investigation

into existing rates to provide some basis to question the reasonableness

of the overall rate level, taking into account changes in all cost

components and not just the challenged component.”


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Sithe/Independence Power Part., L.P. v. FERC, 165 F.3d 944, 951 (D.C.

Cir. 1999) (citing Houlton Water Co., 55 FERC ¶ 61,037, at 61,110

(1991) and City of Hamilton, Ohio et al. v. Kentucky Power Co., 72

FERC ¶ 61,158 at 61,785 (1995)). See also Cal. Indep. Sys. Operator

Corp., 126 FERC ¶ 61,081 at P 66 (2009) (rejecting a request to

establish a § 206 proceeding when the proponents failed to explain how

the features of the tariff they wished to challenge “would affect the

justness and reasonableness of the entire . . . tariff.”).

      International Transmission Co. v. FERC is not to the contrary.

988 F.3d 471 (D.C. Cir. 2021). First, as AEP points out, the petitioner

in that case never raised or argued, and so the Court never addressed,

the issue here: whether the Commission should consider the overall

rate, and not just the adder, before changing the adder under § 206.

Since the petitioner only argued that the Commission failed to find the

adder itself unjust and unreasonable first, the Court’s contrary

conclusion that the Commission did find the adder unjust and

unreasonable aptly resolved that case. But that conclusion is irrelevant

to the different argument made here.




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     Second, International Transmission is factually distinguishable as

well from Duke (and American)’s case. In International Transmission,

the adders had been placed into the rate in separate proceedings. In

those cases, the “base” ROE of 12.88% had been approved for all MISO

utilities. Midwest Indep. Transmission Sys. Operator, Inc., 100 FERC ¶

61,292 at PP 1, 31 (2002), order denying reh’g, 102 FERC ¶ 61,143

(2003), order on voluntary remand, 106 FERC ¶ 61,302 (2004), rev’d in

part and remanded by Pub. Serv. Comm’n of Ky. v. FERC, 397 F.3d

1004 (D.C. Cir. 2005). The applicants, filing under § 205, separately

sought and received 100-point adders. ITC Holdings Corp., 102 FERC ¶

61,182 at P 68 (2003); Michigan Elec. Transmission Co., 105 FERC ¶

61,214 at P 20 (2003).

     Thus, even if International Transmission could be instructive, its

facts meaningfully differ from Duke’s case, as the Commission found.

Complaint Rehearing Order PP 37-38 & n.112, JA592-93 (concluding

that International Transmission supported “reversing our prior stand-

alone rulings that granted the RTO Adder in the first place,” but that

was “distinct from the situation of Duke and [American], where the

parties to those settlement proceedings raised and negotiated the


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matter in the settlement process leading to comprehensive

settlements.”).

     Section 206, and the Commission’s policy against re-examining

rate components in isolation, make extra good sense as applied to

approved settlements. “Policy considerations caution against adjusting

settlement rates on a piecemeal basis.” Complaint Rehearing Order P

29, JA587. In particular, “modifying individual components of

settlements would undermine the certainty provided to settling parties

and would be inconsistent with the Commission’s longstanding policy of

promoting settlements.” Complaint Rehearing Order P 29, JA587.

     Refusing to re-open individual components of a settlement also

preserves the “precise trade-offs and concessions made by the parties,”

which the Commission would not know and thus not be positioned to

revisit. Complaint Rehearing Order P 28, JA586. In short, “the

Commission’s policy [is] not to revisit individual elements of

settlements unless it is shown that they make the overall rate unjust

and unreasonable.” Complaint Rehearing Order P 28, JA587. The

Commission’s policy is right.




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     In the end, the Commission must find a rate unjust and

unreasonable to revisit it. Thus, a challenge to a simple component of a

rate, without any challenge to the overall rate, should go nowhere.

That is doubly true when the overall rate was approved all at once, and

triply true when the overall rate was approved all at once in an

uncontested settlement. As the Commission recognized, its approval of

an agreed, uncontested settlement after years of negotiation is simple,

categorical, and focused only on the fairness and reasonableness of the

bottom line. Complaint Rehearing Order P 30, JA588 (“the Commission

approved a comprehensive settlement package, with a single overall

figure for Duke’s and [American’s] ROEs”); PJM Interconnection, L.L.C.,

151 FERC ¶ 61,029 at P 14 (concluding in a single paragraph that “the

[overall] Settlement appears to be fair, reasonable, and in the public

interest, and is uncontested.”).

     By contrast, determination of an ROE through litigation requires

examination and weighing of voluminous data about individual factors

that all go into formation of the ROE. There is no such record here to

allow separation of individual components of the overall ROE or to

understand how they interact with other components and elements of


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compromise among the parties. The Commission rightly refused to

revisit the components of Duke’s settlement without a showing that the

overall rate has become unjust and unreasonable under § 206.

                            CONCLUSION

     The OCC’s petition for review should be denied.



Dated: December 21, 2023          Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that this brief complies with the type-volume

limitation of Fed. R. App. P. 32(a)(7) and this Court’s July 12, 2023

Order because it contains 5,280 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f) and 6 Cir. R. 32(b)(1).

     I further certify that this brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style

requirements of Fed. R. App. P. 32(a)(6) because it has been prepared

using Century Schoolbook, 14-point font.


Dated: December 21, 2023          /s/ Matthew A. Fitzgerald
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                    CERTIFICATE OF SERVICE

     I hereby certify that on December 21, 2023, I electronically filed

the foregoing brief with the Clerk of this Court using the appellate

CM/ECF system, which will also serve counsel of record.


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                                 UNITED STATES OF AMERICA
                                        BEFORE THE
                          FEDERAL ENERGY REGULATORY COMMISSION


           PJM Interconnection, L.L.C.               )            Docket No. ER12-91-000

           Duke Energy Ohio, Inc. and                )
             Duke Energy Kentucky,                   )            Docket No. ER12-92-000
             Inc.                                    )
                                                                  (not consolidated)


                             PROTEST, MOTION TO INTERVENE AND
                            REQUEST FOR SUSPENSION AND HEARINGS
                             BY AMERICAN MUNICIPAL POWER, INC.


               On October 14, 2011, Duke Energy Ohio, Inc. (“DEO”) and Duke Energy Kentucky, Inc.

        (“DEK”) (jointly, “DEOK” or “the Companies”) and PJM Interconnection, L.L.C. (“PJM”)

        jointly filed modifications to the PJM Open Access Transmission Tariff (“PJM OATT” or

        “Tariff”) in connection with the Companies’ January 1, 2012 integration into PJM.        PJM

        submitted modifications to the PJM OATT, the Amended and Restated Operating Agreement of

        PJM Interconnection, L.L.C. (“PJM OA”), the Reliability Assurance Agreement Among Load

        Serving Entities in the PJM Region (“PJM RAA”) and the Consolidated Transmission Owners

        Agreement (“PJM TOA”). The Companies proposed modifications to the PJM OATT pertaining

        to establishing and recovering DEOK’s transmission revenue requirement, including formula rate

        protocols. The Commission issued notice of the DEOK/PJM filing on October 17, 2011.

               Pursuant to Rules 211, 212, and 214 of the Commission’s Rules of Practice and

        Procedure, 18 C.F.R. §§ 385.211, 385.212, and 385.214 (2011), American Municipal Power, Inc.

        (“AMP”), on behalf of itself and its members, hereby (i) moves to intervene in the captioned

        proceedings, (ii) protests certain aspects of the PJM OATT revisions submitted in this docket,




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                     November 1, 2011, the comparable market yield on 10-year Treasury
                     bonds was 2.01%.41 While parties often disagree about the usefulness
                     of Treasury bond yields in determining just and reasonable ROEs, they
                     can be useful at a broad level in comparing capital market conditions
                     at different points of time. The foregoing comparison, as well as a
                     plethora of other factors, demonstrate clearly that today’s capital
                     market conditions are quite different than those that existed when the
                     Commission established the 12.38% ROE that DEOK seek to carry
                     into their PJM transmission rates.

        In sum, the Commission has used very different DCF methods when setting group ROEs than

        when setting single-company ROEs. It would contravene the orders establishing ROEs in those

        two different settings to assume that the group ROE now in effect for DEOK (and other MISO

        transmission owners) can properly be carried over unchanged into the PJM tariff, where rates

        reflect individual company ROEs. That, plus the vast difference in capital market conditions at

        the relevant points in time, argue strongly against permitting DEOK to continue using the

        12.38% MISO ROE as the basis for determining the Companies’ PJM transmission rates.

                 AMP has developed a preliminary “rough-cut” DCF analysis of DEOK using the national

        proxy group of fifteen utilities accepted by the Commission in Duke Energy Carolinas, LLC,

        supra. A copy of AMP’s preliminary analysis is attached to this Protest as Attachment 2. AMP’s

        analysis uses DCF data inputs for the six-month period of May-October 2011. The calculated

        median return of that group, as shown in Attachment 2 (page 1 of 5) is 9.50%. Assuming a 50

        basis point adder would be tacked on for DEOK’s RTO participation, the resulting 10.0% ROE is

        238 basis points lower than the 12.38% MISO-wide ROE the Companies seek to carry over into

        their PJM transmission rates. By AMP’s calculations, reducing the Companies’ claimed ROE by

        238 basis points would cause a reduction in DEOK’s annual transmission revenue requirement of


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           As posted at http://www.treasury.gov/resource-center/data-chart-center/interest-
        rates/Pages/TextView.aspx?data=yield.




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                              UNITED STATES OF AMERICA
                                     BEFORE THE
                       FEDERAL ENERGY REGULATORY COMMISSION


          PJM Interconnection, L.L.C.              )       Docket Nos. ER12-91-000,
          Duke Energy Ohio, Inc.                   )                   ER12-91-002,
          Duke Energy Kentucky, Inc.               )                   ER12-91-004,
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                                                   )                   ER12-92-007,
                                                   )                   and
                                                   )                   ER12-92-008


                         EXPLANATORY STATEMENT IN SUPPORT OF
                               SETTLEMENT AGREEMENT

               Pursuant to Rule 602 of the Rules of Practice and Procedure of the Federal Energy

        Regulatory Commission (“Commission” or “FERC”), 18 C.F.R. § 385.602 (2014), Duke

        Energy Ohio, Inc. and Duke Energy Kentucky, Inc. (jointly, the “Duke Companies”), on

        behalf of the Settling Parties (as hereinafter defined), submit this Explanatory Statement

        in support of the Settlement Agreement (“Settlement”) filed herewith for the purpose of

        resolving all issues in this proceeding.       This Explanatory Statement is provided in

        accordance with the Commission’s Rules, and is not intended to alter any provision of the

        Settlement or any party’s rights or obligations thereunder.




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        I.    PROCEDURAL BACKGROUND

              On October 14, 2011, in Docket Nos. ER12-91-000 and ER12-92-000, the Duke

        Companies jointly filed, pursuant to section 205 of the Federal Power Act (“FPA”),

        proposed modifications to the PJM Interconnection, L.L.C. (“PJM”) Open Access

        Transmission Tariff (“PJM Tariff”) in connection with the Duke Companies’ move from

        the Midwest Independent Transmission System Operator, Inc. n/k/a Midcontinent

        Independent System Operator, Inc. (“MISO” or “Midcontinent ISO”) Regional

        Transmission Organization (“RTO”) to the PJM RTO. The Duke Companies’ proposed

        modifications to the PJM Tariff pertained to establishing and recovering the Duke

        Companies’ transmission revenue requirement, including formula rate protocols.      In

        addition, under section 205 of the FPA, PJM submitted proposed modifications to the

        PJM Tariff, the Amended and Restated Operating Agreement of PJM, the Reliability

        Assurance Agreement Among Load Serving Entities in the PJM Region, and the

        Consolidated Transmission Owners Agreement (collectively, the “PJM Agreements”).

        The Duke Companies and PJM jointly requested an effective date of January 1, 2012, for

        the proposed changes.

              On November 4, 2011, American Municipal Power, Inc. (“AMP”), on behalf of

        itself and its members the cities of Hamilton and Lebanon, Ohio and Williamstown,

        Kentucky (Hamilton, Lebanon, and Williamstown, collectively referred to herein as the

        “AMP Members”), filed a timely motion to intervene, protest, and request for suspension

        and hearings in this proceeding. Also on November 4, 2011, the Indiana Municipal



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        Power Agency (“IMPA”) filed a timely motion to intervene and protest in this proceeding.

        No other party protested the filings.

               On December 27, 2011, the Duke Companies filed a Request for Deferral of

        Action requesting that the Commission enable the Duke Companies, AMP and IMPA to

        continue settlement discussions that, if successful, would resolve all issues in this

        proceeding. The request was submitted on the condition that it would have no effect on

        the requested effective date of January 1, 2012. Solely in order to defer Commission

        action on the pending tariff change filing, the Duke Companies and PJM submitted on

        December 29, 2011, a ministerial filing that contained no changes to the existing tariff

        records filed in these dockets on October 14, 2011. The Commission issued public notice

        of the filing. No comments were filed.

               On January 10, 2012, Hamilton filed a motion to intervene in this proceeding in its

        own right.

               On February 24, 2012, the Duke Companies filed a second Request for Deferral of

        Action. The Commission issued public notice of the filing. No comments were filed.

               On April 5, 2012, the Duke Companies and IMPA filed a settlement agreement in

        this proceeding that resolved all issues between the Duke Companies and IMPA (“April 5

        Settlement”).

               On April 24, 2012, the Commission issued an order denying the Duke Companies’

        request to recover Legacy MTEP Costs (as defined in Article II of the Settlement) and

        PJM Transition Costs and Internal Integration Costs (as defined in Article II of the

        Settlement) from wholesale transmission customers, without prejudice to the filing under

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        section 205 of the FPA of a new request for such recovery. PJM Interconnection, L.L.C.,

        et al., 139 FERC ¶ 61,068 (2012) (“April 24 Order”).              The April 24 Order also

        established hearing and settlement judge procedures pursuant to section 206 of the FPA

        for determination of the Duke Companies’ rate of return on common equity, and

        approved the April 5 Settlement between the Duke Companies and IMPA. Consistent

        with the April 5 Settlement, IMPA later withdrew its protest of the Duke Companies’

        filing, leaving AMP (acting on its own behalf and on behalf of the AMP Members) as the

        only party with a protest in the proceeding.

               On May 24, 2012, the Duke Companies filed revised tariff records in compliance

        with the April 24 Order. On the same date, the Duke Companies filed a request for

        rehearing of the April 24 Order.

               On February 4, 2013, the Duke Companies, AMP, and the AMP Members filed a

        settlement agreement in this proceeding. That settlement agreement provided, among

        other things, for the recovery of Legacy MTEP Costs, PJM Transition Costs and Internal

        Integration Costs (each as defined in that settlement agreement) 1 from all wholesale

        transmission customers, together with a reimbursement to AMP and the AMP Members

        for 75 percent of the Legacy MTEP Costs and 100 percent of the PJM Transition Costs.

               By order issued September 19, 2013, the Commission rejected that settlement

        agreement, stating, among other things, that it was “unclear . . . that all customers were

        on notice that these issues [the recovery of Legacy MTEP Costs, PJM Transition Costs,

               1
                These terms, as used in the February 4, 2013 settlement, had substantially the same
        meanings as they are given in Article II of the instant Settlement.

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        and Internal Integration Costs] would be resolved [in this proceeding]” and that the Duke

        Companies had not shown that the settlement was not unduly discriminatory in failing to

        extend the benefits offered to AMP to the Duke Companies’ other wholesale transmission

        customers. PJM Interconnection, L.L.C., et al., 144 FERC ¶ 61,217 at PP 19-21 (2013)

        (“September 19 Order”). Thereafter, the parties resumed settlement discussions.

                 On October 18, 2013, AMP filed a request for rehearing of the September 19

        Order.

                 On December 17, 2013, the Duke Companies provided notice to all PJM

        transmission customers with load in the DEOK Zone (as hereinafter defined) that

        settlement discussions in this proceeding had resumed, and that the settlement

        negotiations might address transmission rate matters beyond the return on equity issue

        specifically set for hearing and settlement procedures in the April 24 Order. That notice,

        a copy of which is attached to the Settlement as Exhibit A, was sent to each of the

        wholesale transmission customers with load in the DEOK Zone. Of importance, the

        notice expressly and specifically advised recipients that the settlement negotiations might

        encompass the Duke Companies’ request for recovery in rates of all or a portion of the

        legacy MISO Transmission Expansion Plan costs they incur. Specifically, Paragraph 4 of

        the notice stated:

           Settlement negotiations have resumed in FERC Docket Nos. ER12-91 and ER12-92
           under the supervision of a FERC Administrative Law Judge. The settlement
           negotiations may address transmission rate matters beyond the return on equity issue
           specifically set for hearing and settlement procedures in the April 24, 2012 order,
           including the Duke Companies’ recovery in rates of all or a portion of the legacy
           MISO Transmission Expansion Plan costs incurred by the Duke Companies.


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        The Duke Companies also stated in the notice that the outcome of the settlement

        negotiations could affect the amount paid for wholesale transmission service in the

        DEOK Zone, and that any customer wishing to intervene in the proceeding out of time

        should do so by January 7, 2014.

               On December 18, 2013, The Dayton Power & Light Company (“Dayton”) filed a

        motion to intervene. On January 3, 2014, Buckeye Power, Inc. (“Buckeye”) filed a

        motion to intervene. On January 10, 2014, East Kentucky Power Cooperative, Inc.

        (“EKPC”) filed a motion to intervene.        The Chief Judge granted these motions to

        intervene by orders issued January 9, 2014 and January 22, 2014.            One wholesale

        customer to which the December 17, 2013 notice was sent (American Electric Power) did

        not intervene.

               Settlement discussions resumed following the Chief Judge’s orders granting the

        additional interventions. By order issued March 10, 2014, the Settlement Judge issued a

        report stating that the parties had reached an impasse in their settlement negotiations, and

        recommending that settlement judge procedures be terminated. By order issued March

        11, 2014, the Chief Judge accepted the recommendation of the Settlement Judge to

        terminate settlement judge procedures, and designated the Honorable Philip C. Baten to

        preside over the evidentiary hearing. On March 24, 2014, the Chief Judge issued an

        order designating the Honorable Jennifer Whang as the substitute presiding

        administrative law judge.




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               By order issued April 2, 2014, Presiding Judge Whang adopted a procedural

        schedule for the trial in this proceeding. On July 11, 2014, Presiding Judge Whang

        issued an order modifying the procedural schedule for the trial in this proceeding.

               The parties continued informal settlement discussions during this period. On July

        30, 2014, the Duke Companies, AMP, Buckeye, EKPC and Hamilton submitted to

        Presiding Judge Whang an unopposed joint motion informing her that the parties had

        reached agreement on the terms of a negotiated resolution of the issues in these dockets,

        and requesting that the procedural schedule be suspended. By order dated August 1,

        2014, the Chief Judge suspended the procedural schedule to permit the preparation and

        filing of formal settlement documents. A summary of those documents follows.

        II.    SUMMARY OF SETTLEMENT TERMS

               The Settlement resolves all issues in this case among all parties to the case. It is

        entered into by the Duke Companies, AMP on behalf of itself and its members, Buckeye

        on behalf of itself and its members, Dayton, EKPC on behalf of itself and its members,

        IMPA, Hamilton, and the Village of Blanchester, Ohio (an IMPA member) (collectively,

        the “Settling Parties”). As noted above, earlier in this proceeding the Duke Companies

        entered into a settlement agreement with IMPA that resolved all issues in the case as

        between the Duke Companies and IMPA; this Settlement would replace that earlier

        settlement. 2 Upon approval of the Settlement, the Duke Companies and AMP will




               2
                   Settlement, section 4.16. Because of that replacement, Attachment H-22C to the PJM
        Tariff is no longer necessary and is being eliminated as of January 1, 2012.

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        withdraw their respective pending requests for rehearing in this proceeding. Settlement,

        section 3.8.

               One of the principal concerns expressed by the Commission in rejecting the

        February 4, 2013 Settlement among the Duke Companies, AMP and Hamilton was that it

        was “unclear . . . that all customers were on notice that these issues [the recovery of

        Legacy MTEP Costs, PJM Transition Costs, and Internal Integration Costs]” would be

        resolved in this proceeding. September 19 Order at PP 20-21. In order to resolve this

        concern with respect to any new settlement the parties might reach, the Duke Companies

        notified all wholesale transmission customers with load in the DEOK Zone that

        settlement negotiations were ongoing, that the settlement might address issues beyond the

        scope of the ROE issue set for hearing (specifically including the recovery of Legacy

        MTEP Costs), and that any party that wished to participate in the case could seek to

        intervene late and fully participate in the discussions. See Settlement Exhibit A. Three

        customers that received the notice – EKPC, Dayton and Buckeye – responded by

        intervening in this docket and participating in this Settlement. In light of these facts, the

        Commission need not be concerned about whether -all- wholesale transmission customers

        with load in the DEOK Zone received notice of the settlement discussions and an

        opportunity to participate in those discussions. Notice and an opportunity to participate

        were provided to all such customers.

               Consistent with the notice given to customers, the Settlement includes a negotiated

        resolution of the Duke Companies’ rate of return on common equity, as well as the Duke

        Companies’ and wholesale transmission customers’ respective obligations for Legacy

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        MTEP Costs associated with the Duke Companies’ move to PJM. Settlement, section 3.2.

        The Settling Parties are mindful that, in the April 24 Order, the Commission rejected the

        Duke Companies’ inclusion of Legacy MTEP Costs in rates, without prejudice to the

        Duke Companies’ submission of a new filing that addressed the Commission’s concerns.

        The Duke Companies sought rehearing of the April 24 Order, however, and that

        rehearing request remains pending before the Commission.          As a result of these

        developments, the possibility existed that transmission customers in the DEOK Zone

        could become subject to the full amount of their allocated shares of Legacy MTEP Costs,

        PJM Transition Costs and Internal Integration Costs associated with the Duke Companies’

        move to PJM if the Duke Companies made a new filing to recover such costs, as

        permitted by the April 24 Order, or if the Duke Companies were successful in their

        request for rehearing of the April 24 Order (or in any subsequent petition for review of

        that Order). On the other hand, the Duke Companies faced the risk that they might be

        prevented from recovering any of these costs (e.g., if the Commission were to reject the

        Duke Companies’ new request for recovery and the Duke Companies’ request for

        rehearing or petition for review of such order was unsuccessful).        To hedge their

        respective risks, both sides have reached a compromise under which Duke will absorb

        100% of the Wholesale Transmission Customers’ Legacy MTEP Costs until the

        Settlement becomes effective, and 70% of those costs thereafter. Settlement, section 3.2.

        In addition, the Duke Companies will absorb 100% of Internal Integration Costs and PJM

        Transition Costs. Settlement, section 3.1.



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               As noted above, the instant Settlement does not implicate the concerns the

        Commission cited in rejecting the February 4, 2013 settlement.3 Through the December

        17, 2013 notice given to all wholesale transmission customers with load in the DEOK

        Zone, all identifiable members of the class of potentially affected parties were advised of

        the issues that might be negotiated. In particular, those entities were specifically and

        clearly informed that a negotiated resolution of the case might encompass the payment of

        Legacy MTEP Costs and other costs associated with the Duke Companies’ move to PJM.

        Any possible concern with lack of notice to affected transmission customers thus was

        eliminated as a factor bearing on the justness and reasonableness of the instant Settlement.

               Neither are the other concerns the Commission cited in rejecting the February 4,

        2013 settlement relevant to the instant Settlement. For example, another aspect of the

        earlier settlement the Commission found objectionable was the differing treatment of

        wholesale transmission customers.        In its order rejecting the prior settlement, the

        Commission stated:

               Given our earlier finding that recovering Legacy MTEP and Transition
               costs is not just and reasonable, we cannot find that the Settlement, which
               proposes recovering a portion of these costs from AMP and all of these
               costs from non-settling parties, is fair and reasonable and in the public
               interest. Moreover, the fact that the Settlement provides greater benefits to
               AMP than the Duke Companies’ other customers is inconsistent with the
               assumption that AMP’s interests also represent the interests of other
               customers. Accordingly, we find that the Settlement has not been shown to
               be fair and reasonable and in the public interest.

        September 19 Order at P 21.



               3
                   See September 19 Order at PP 19-21.

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               The concern that the prior settlement provided greater benefits to one set of

        transmission customers (AMP and Hamilton) than to other transmission customers is not

        apposite to the instant Settlement. Pursuant to the current Settlement, --
                                                                                all wholesale

        transmission customers will be subject to the same tariff provisions and to the same rates,

        terms and conditions of service. Disparate treatment of customers therefore is no longer

        a matter with which the Commission need be concerned.

               Further, as to the concern that the prior settlement permitted recovery of a portion

        of Legacy MTEP Costs without a cost-benefit study, the Commission’s orders (including

        the September 19 Order) do not prohibit the affected parties from entering into a

        settlement that resolves that matter in a manner each such party finds acceptable. A key

        purpose of the Settlement is to resolve, and thereby moot, the Duke Companies’ pending

        request for rehearing of the April 24 Order. If that rehearing request, or a subsequent

        court appeal raising the same issues, were successful, the Duke Companies might have

        been entitled to include in rates the PJM Transition Costs, Internal Integration Costs, and

        Legacy MTEP Costs in full. Furthermore, even if the only way the Duke Companies

        could recover those costs was through a section 205 filing that demonstrated a net benefit

        to customers, the Duke Companies would have been free to seek full recovery of such

        costs in such filing, not the more limited recovery agreed to as part of the Settlement.

        Thus, the Settlement operates to hedge the respective risks faced by each set of

        parties - the customers’ risk of being charged Legacy MTEP and other costs without

        mitigation, and the Duke Companies’ risk of securing no recovery of those costs at all.

        This very sort of risk-hedging is the essence of any settlement, and no particular issue

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        should be considered “out of bounds” lest parties be impeded in their efforts to achieve a

        complete and balanced resolution of the disputes that matter to them.

               Neither the April 24 Order nor the September 19 Order prohibit the Duke

        Companies and transmission customers in the DEOK Zone from reaching a consensual

        resolution of the Legacy MTEP cost recovery issue, especially where the resolution

        provides for a greatly reduced level of recovery as compared to what the Duke

        Companies’ initially requested. Here, as part of an overall package, the Duke Companies

        have agreed to absorb 70% of the Legacy MTEP costs that the Duke Companies’

        originally sought to recover in full from transmission customers in the DEOK Zone once

        the Settlement becomes effective (and 100% prior to that time). Transmission customers,

        for their part, are agreeing as part of an overall package that the transmission charges they

        pay will include 30% of the Legacy MTEP costs once the Settlement becomes effective

        (and none of such costs prior to that time), without the Duke Companies submitting a

        cost-benefit study. This trade-off is part of an integrated package of gives-and-takes that

        each set of parties finds agreeable. The Commission encourages parties to work toward

        just such negotiated solutions as an alternative to litigation, particularly in difficult cases

        (like this one) where the litigation is likely to be protracted and costly.4 If for some

        reason the Settlement is not approved, wholesale transmission customers would be re-

        exposed to the risk of having to bear 100% of Legacy MTEP Costs, Internal Integration




               4
                   See, e.g., Duke Energy Trading and Marketing Co., 117 FERC ¶ 61,039 at P 12 (2006).

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        Costs, and PJM Transition Costs, precisely the risk that they desire to mitigate through

        the Settlement.

               The Settlement provides for revisions to Attachments H-22 and JJ to the PJM

        Tariff as set forth in Exhibits B and C to the Settlement. Settlement, section 3.4. The

        modified tariff provisions in Exhibit B, which would become effective as of January 1,

        2012, effectuate the exclusion from rates of 100% of Legacy MTEP Costs, Internal

        Integration Costs and PJM Transition Costs, and the replacement of the April 5

        Settlement with the instant Settlement for IMPA. The modified tariff provisions in

        Exhibit C, which would become effective as of the date on which the Commission

        accepts the Settlement, effectuate a reduction in the Duke Companies’ rate of return on

        common equity (“ROE”) from 12.38 percent to 11.38 percent (the latter consisting of a

        base ROE of 10.88 percent plus a fifty basis point adder for RTO membership), the

        continued exclusion from rates of 100% of Internal Integration Costs and PJM Transition

        Costs, and the exclusion from rates of 70% (and the inclusion in rates of 30%) of Legacy

        MTEP Costs. 5 Redlined sheets showing the changes to the currently effective tariff

        sheets are included as Attachment C to this filing.6

               The Duke Companies are filing the changes to the PJM Tariff as part of the instant

        Settlement because they are an integral part of resolution of the pending issues in this

        proceeding. As is common and desirable for settlements of this nature, the Settlement is

               5
                   The Settlement also corrects two minor typographical errors in Attachment H-22A.
               6
                 Consistent with Section 4.b. of the Formula Rate Implementation Protocols, changes in
        the revenue requirement as a result of the settlement will be reflected in the next Annual Update,
        including interest as per section 35.19a of the Commission’s regulations.

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        a global one - that is, it resolves all pending issues in the proceeding, including the issues

        that were set for hearing and those that remain pending before the Commission on

        rehearing.    The Settling Parties engaged in good faith negotiations through the

        Commission’s settlement procedures, and after several months of negotiations reached

        middle ground on the issues that were set for hearing as well as on the issues that were

        the subject of the rehearing requests. It would not have been possible to achieve a

        settlement that resolved all issues in the case without agreement on the revised tariff

        sheets that effectuate the Settling Parties’ understandings and, therefore, the modified

        tariff sheets are an essential and integral part of the Settlement itself.

               The Settlement also contains provisions that require the Settling Parties to forgo

        initiating a proceeding regarding the Settlement ROE with an effective date prior to

        June 1, 2017. Settlement, section 3.3. As part of the Settlement, the Duke Companies

        agree to withdraw their request for rehearing of the Commission’s April 24 Order in this

        proceeding, including that order’s commencement of a section 206 proceeding with

        respect to the Duke Companies’ existing 12.38 percent ROE. AMP also agrees to

        withdraw its pending request for rehearing of the September 19 Order rejecting the earlier

        settlement among the Duke Companies, AMP and Hamilton. In order to ensure that the

        Commission does not act on those rehearing requests while the Settlement is pending

        before the Commission, section 3.8 of the Settlement requires the Duke Companies and

        AMP to request that the Commission hold their respective rehearing requests in abeyance

        pending action on the Settlement. The Duke Companies and AMP filed a joint motion

        for that purpose with the Commission on October 29, 2014.

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               As to the standard of review applicable to unilateral modification requests, the

        Settlement provides that, unless the Settling Parties otherwise agree in writing, any

        modification to the Settlement proposed by one of the parties after the Settlement has

        become effective shall, as between them, be subject to the “public interest” application of

        the just and reasonable standard. The Settlement also provides that any modifications to

        the Settlement proposed by the Commission acting sua sponte or by a non-Settling Party

        shall be subject to the just and reasonable standard. Settlement, section 4.9.

               In addition to the foregoing, the Settlement also contains standard provisions

        commonly included in settlement agreements filed with the Commission.

        III.   SERVICE

               The Duke Companies have served a copy of this filing on all parties on the official

        service list to this proceeding. In addition, PJM has served a copy of this filing on all

        PJM members and on all state utility commissions in the PJM region by posting this

        filing electronically.

        IV.    ADDITIONAL MATTERS

               By letter order dated October 23, 2003, the Chief Administrative Law Judge

        requires all parties submitting Section 602 settlements to address five questions in their

        explanatory statement. These issues are addressed in this section.

               A.      What are the issues underlying the settlement and what are the major
                       implications?

               The background of this proceeding is summarized above in Section I, and a

        summary of the Settlement appears in Section II. The Settlement is a negotiated rate case


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        compromise, and expressly states that no party shall be deemed to have agreed to any

        principle or position in this proceeding.

               B.       Whether any of the issues raise policy implications.

               The issues presented in the Settlement do not raise any major policy implications

        because the Settlement establishes no precedent. It does, however, further the broad

        public interest in favor of settlements.7

               C.       Whether other pending cases may be affected.

               No other pending cases will be affected by the resolution of the instant proceeding.

               D.       Whether the settlement involves issues of first impression, or if there
                        are any previous reversals on the issues involved.

               The Settlement settles a transmission tariff rate case without establishing any

        precedent on any issue, and as such it does not involve any issues of first impression or

        previous reversals on the issues involved.

               E.       Whether the proceeding is subject to the just and reasonable standard
                        or whether there is Mobile-Sierra language making it the standard, i.e.,
                        the applicable standard of review.

               The Settlement provides that, unless otherwise agreed to by the Settling Parties in

        writing, any proposed modifications to the Settlement, as between the Settling Parties,

        shall be subject to the “public interest” application of the just and reasonable standard of




               7
                   See Southern Union Gas Co. v. FERC, 840 F.2d 964, 971 (D.C. Cir. 1988).

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        review; and that any modifications proposed by the Commission acting sua sponte or by

        a non-Settling Party shall be subject to the just and reasonable standard.8

        V.     CONCLUSION

               The Settlement fairly and fully resolves all issues in this proceeding, including the

        Duke Companies’ and AMP’s pending rehearing requests, which the Duke Companies

        and AMP will withdraw upon approval of the Settlement. The Settlement has been

        negotiated in accordance with Commission rules and procedures, and Commission

        approval of the Settlement will save the Settling Parties and the Commission the

        considerable expense and effort of litigating the difficult and complex issues that have

        been amicably resolved through negotiation to the mutual satisfaction of the Settling

        Parties. The Settlement achieves rate certainty for the Settling Parties while preserving

        the rights of entities that had notice of, but chose not to participate in, the proceeding or

        the settlement process. For all the foregoing reasons, the Settling Parties request that the

        Commission (i) find that the Settlement is fair and reasonable, (ii) approve the Settlement

        without modification or condition, and (iii) allow the Settlement (including the modified

        tariff provisions submitted as part of the Settlement) to become effective in accordance

        with its terms.




               8
                  United Gas Pipe Line Co. v. Mobile Gas Serv. Corp., 350 U.S. 332 (1956) and Federal
        Power Commission v. Sierra Pacific Power Co., 350 U.S. 348 (1956) (the Mobile-Sierra
        doctrine), as clarified in Morgan Stanley Capital Group, Inc. v. Public Util. Dist. No. 1 of
        Snohomish County, Washington, 554 U.S. 527 (2008) and refined in NRG Power Mktg. v. Maine
        Pub. Utils. Comm’n, 558 U.S. 165 (2010).

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                                            Respectfully submitted,

                                              /s/ Gary A. Morgans_______________

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                                            Counsel for Duke Energy Ohio, Inc. and
                                            Duke Energy Kentucky, Inc.

                                            On behalf of the Settling Parties


        October 30, 2014




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                                      ATTACHMENT 2

                                SETTLEMENT AGREEMENT




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                                UNITED STATES OF AMERICA
                                       BEFORE THE
                         FEDERAL ENERGY REGULATORY COMMISSION

                                                     )
          PJM Interconnection, L.L.C.                )             Docket Nos. ER12-91-000
          Duke Energy Ohio, Inc.                     )                         ER12-91-002
          Duke Energy Kentucky, Inc.                 )                         ER12-91-004
                                                     )                         ER12-91-005
                                                     )                         ER12-91-007
                                                     )                         ER12-91-008
                                                     )                         ER12-92-000
                                                     )                         ER12-92-002
                                                     )                         ER12-92-004
                                                     )                         ER12-92-005
                                                     )                         ER12-92-007
                                                     )                     and ER12-92-00 8


                                      SETTLEMENT AGREEMENT

                 This Settlement Agreement ("Settlement Agreement") is made pursuant to

          Rule 602 of the Rules of Practice and Procedure of the Federal Energy Regulatory

          Commission ("Commission" or "FERC"), 18 C.F.R. § 385.602 (2014), by and

          among Duke Energy Ohio, Inc. ("DEO"), a corporation organized and existing

          under the laws of the State of Ohio, Duke Energy Kentucky, Inc. ("DEK"), a

          corporation existing under the laws of the Commonwealth of Kentucky, American

          Municipal Power, Inc. ("AMP"), on behalf of itself and its members, Buckeye

          Power, Inc. ("Buckeye"), on behalf of itself and its members, The Dayton Power

          and Light Company ("Dayton"), East Kentucky Power Cooperative, Inc. ("East

           Kentucky"), on behalf of itself and its members, the Indiana Municipal Power

           Agency ("IMPA"), the City of Hamilton, Ohio ("Hamilton"), and the Village of

           Blanchester, Ohio (each a "Settling Party" and all collectively, the "Settling

           Parties"). The Settling Parties enter into this Settlement Agreement to resolve all


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          issues in Docket Nos. ER12-91-000, ER12-92-000, and the above-referenced sub-

          dockets.

                                               ARTICLE I

                 1.1.   On October 14, 2011, in Docket Nos. ER12-91-000 and ER12-92-

          000, DEO and DEK Uointly, the "Duke Companies") jointly filed, pursuant to

          section 205 of the Federal Power Act ("FPA"), proposed modifications to the PJM

          Interconnection, L.L.C. ("PJM") Open Access Transmission Tariff ("PJM Tariff") in

          connection with the Duke Companies' move from the Midwest Independent

          Transmission System Operator, Inc. n/k/a Midcontinent Independent System

          Operator, Inc. ("MISO" or "Midcontinent ISO") Regional Transmission Organization

          ("RTO") to the PJM RTO. The Duke Companies' proposed modifications to the

          PJM Tariff pertained to establishing and recovering the Duke Companies'

          transmission revenue requirement, including formula rate protocols. In addition,

          under section 205 of the FPA, PJM submitted proposed modifications to the PJM

          Tariff, the Amended and Restated Operating Agreement of PJM, the Reliability

          Assurance Agreement Among Load Serving Entities in the PJM Region, and the

          Consolidated Transmission Owners Agreement (collectively, the "PJM

          Agreements"). The Duke Companies and PJM jointly requested an effective date

          of January 1, 2012, for the proposed changes.

                 1.2.   On November 4, 2011, AMP, on behalf of itself and its members

           Hamilton, Lebanon, and Williamstown (Hamilton, Lebanon, and Williamstown

           collectively referred to herein as the "AMP Members"), filed a timely motion to

           intervene, protest, and request for suspension and hearings in this proceeding.



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          Also on November 4, 2011, IMPA filed a timely motion to intervene and protest in

          this proceeding. No other party protested the filings.

                 1.3.   On December 27, 2011, the Duke Companies filed a Request for

          Deferral of Action requesting that the Commission enable the Duke Companies,

          AMP and IMPA to continue settlement discussions that, if successful, would

          resolve all issues in this proceeding. The request was submitted on the condition

          that it would have no effect on the requested effective date of January 1, 2012.

          Solely in order to defer Commission action on the pending tariff change filing, the

          Duke Companies and PJM submitted on December 29, 2011, a ministerial filing

          that contained no changes to the existing tariff records filed in these dockets on

          October 14, 2011. The Commission issued public notice of the filing. No

          comments were filed.

                 1.4.   On January 10, 2012, Hamilton filed a motion to intervene in this

          proceeding in its own right.

                 1.5.   On February 24, 2012, the Duke Companies filed a second Request

          for Deferral of Action. The Commission issued public notice of the filing. No

          comments were filed.

                 1.6.   On April 5, 2012, the Duke Companies and IMPA filed a settlement

          agreement in this proceeding that resolved all issues between the Duke

           Companies and IMPA ("April 5 Settlement").

                 1.7.   On April 24, 2012, the Commission issued an order that denied

           recovery by the Duke Companies from wholesale transmission customers of

           Legacy MTEP Costs (as hereinafter defined) and PJM Transition Costs and



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          Internal Integration Costs (as hereinafter defined), without prejudice to a new filing

          under section 205 of the FPA seeking to justify such recovery, established hearing

          and settlement judge procedures pursuant to section 206 of the FPA for

          determination of the Duke Companies' rate of return on equity, and approved the

          April 5 Settlement. PJM Interconnection, L.L.C., et al., 139 FERC ,i 61,068 (2012)

          ("April 24 Order"). IMPA subsequently withdrew its protest of the Duke

          Companies' filing, leaving AMP as the only party (on its own behalf and on behalf

          of the AMP Members) with a protest in the proceeding.

                 1.8.   On May 24, 2012, the Duke Companies filed revised tariff records in

          compliance with the April 24 Order. On the same date, the Duke Companies filed

          a request for rehearing of the April 24 Order.

                 1.9.   On February 4, 2013, the Duke Companies, AMP, and the AMP

          Members filed a settlement agreement in this proceeding. That settlement

          agreement provided, among other things, for the recovery of Legacy MTEP Costs,

          PJM Transition Costs and Internal Integration Costs (each as defined in that

          settlement agreement) from all wholesale transmission customers, together with a

          reimbursement to AMP and the AMP Members for 75 percent of the Legacy MTEP

          Costs and 100 percent of the PJM Transition Costs.

                 1.10. By order issued September 19, 2013, the Commission rejected that

          settlement agreement, stating, among other things, that it was "unclear ... that all

          customers were on notice that these issues [the recovery of Legacy MTEP Costs,

          PJM Transition Costs, and Internal Integration Costs] would be resolved [in this

          proceeding]" and that the Duke Companies had not shown that the settlement was



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          not unduly discriminatory in failing to extend the benefits offered to AMP to the

          Duke Companies' other customers. PJM Interconnection, L.L.C., et al., 144 FERC

          ,i 61,217 at PP 19-20 (2013). Thereafter, the parties resumed settlement

          discussions.

                 1.11. On October 18, 2013, AMP filed a request for rehearing of the

          September 19, 2013 order.

                 1.12. On December 17, 2013, the Duke Companies provided notice to all of

          their wholesale transmission customers that settlement discussions in this

          proceeding had resumed, and that the settlement negotiations may address

          transmission rate matters beyond the return on equity issue specifically set for

          hearing and settlement procedures in the April 24 Order, including the Duke

          Companies' recovery in rates of all or a portion of the legacy MISO Transmission

          Expansion Plan costs incurred by the Duke Companies. A copy of that notice is

          attached as Exhibit A. The Duke Companies stated that the outcome of the

          settlement negotiations could affect the amount paid for wholesale transmission

          service in the DEOK Zone (as hereinafter defined), and that any customer wishing

          to intervene in the proceeding out of time should do so by January 7, 2014.

                  1.13. On December 18, 2013, Dayton filed a motion to intervene. On

           January 3, 2014, Buckeye filed a motion to intervene. On January 10, 2014, East

           Kentucky filed a motion to intervene. These motions were granted by the Chief

           Judge by orders issued January 9, 2014 and January 22, 2014.

                  1.14. Settlement discussions resumed following the Chief Judge's orders

           granting the additional interventions. By order issued March 10, 2014, the


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          Settlement Judge issued a report stating that the parties had reached an impasse

          in their settlement negotiations, and recommending that settlement judge

          procedures be terminated. By order issued March 11, 2014, the Chief Judge

          accepted the recommendation of the Settlement Judge to terminate settlement

          judge procedures, and designated the Honorable Philip C. Baten to preside over

          the evidentiary hearing.   On March 24, 2014, the Chief Judge issued an order

          making a substitute designation of the Honorable Jennifer Whang to preside over

          the evidentiary hearing.

                 1.15. By order issued April 2, 2014, Presiding Judge Whang adopted a

          procedural schedule for the trial in this proceeding. On July 11, 2014, Presiding

          Judge Whang issued an order modifying the procedural schedule for the trial in

          this proceeding.

                 1.16. Informal settlement discussions continued during this period. On

          July 30, 2014, the Duke Companies, AMP, Buckeye, East Kentucky, and Hamilton

          submitted to Presiding Judge Whang an unopposed joint motion informing her

          that the parties had reached agreement on the terms of a negotiated resolution of

          the issues in these dockets, and requesting that the procedural schedule be

          suspended. By order dated August 1, 2014, the Chief Judge suspended the

          procedural schedule to permit the preparation and filing of formal settlement

          documents.

                 NOW, THEREFORE, in consideration of the promises and the mutual

          covenants and agreements contained herein, and for other good and valuable




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          consideration, the receipt and sufficiency of which are hereby acknowledged, the

          Settling Parties, intending to be legally bound, agree as follows:

                                               ARTICLE II

                 All defined terms have the meanings set forth in this Settlement Agreement.

          All rules of construction and interpretation of this Settlement Agreement shall be

          as set forth in the PJM Tariff or PJM Agreements.

                 "DEOK Zone" means the DEOK Zone as set forth in the PJM Tariff.

                 "Internal Integration Costs" means the internal administrative costs incurred

          by the Duke Companies to accomplish their move from MISO into PJM.

                 "Legacy MTEP Costs" means all costs arising from obligations of the Duke

          Companies or the Wholesale Transmission Customers to pay any portion of the

          costs of identified transmission expansion projects included in any Midcontinent

          ISO Transmission Expansion Plan ("MTEP") that was approved by the MISO

          Board of Directors prior to the date of the Duke Companies' integration into PJM,

          including any such costs that arise from Multi-Value Projects, as defined in Section

          11.C of Attachment FF to the MISO open access transmission tariff, that were

          approved by the MISO Board of Directors prior to the date of the Duke Companies'

          integration into PJM.

                 "MISO" or "Midcontinent ISO" means the Midcontinent Independent System

          Operator, Inc. or the Midwest Independent Transmission System Operator, Inc., as

          it was formerly known, or the successor thereto.

                 "PJM" means PJM Interconnection, L.L.C., or the successor thereto.

                 "PJM Agreements" means the Amended and Restated Operating

          Agreement of PJM Interconnection, L.L.C., the Reliability Assurance Agreement
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          Among Load Serving Entities in the PJM Region, and the Consolidated

          Transmission Owners Agreement.

                 "PJM Formula Rate" means PJM Tariff Attachment H-22A, which was

          submitted by the Duke Companies in the filing in the above-referenced Docket

          Nos. ER12-91-000 and ER12-92-000.

                 "PJM RTEP Costs" means costs defined by PJM in Schedule 12 of the PJM

          Tariff and charged under Schedule 12-Appendix and Schedule 12-Appendix A of

          the PJM Tariff.

                 "PJM Tariff" means the PJM Interconnection, L.L.C. Open Access

          Transmission Tariff.

                 "PJM Transition Costs" means costs identified as "Transition Costs" in the

          Duke Companies' filings submitted in the above-referenced proceeding and

          therein proposed to be included in the PJM Formula Rate, specifically, costs

          associated with: (1) the Duke Companies' obligation under Article Five, Section

          11.B of the MISO Transmission Owners' Agreement ("MISO TOA") to pay certain

          amounts to MISO as an exit fee; (2) the Duke Companies' agreement, approved

          by the Commission in Docket No. ER11-2059-000, to pay MISO $1.8 million to

          resolve a dispute over MISO tariff revisions proposed to address alleged adverse

          effects on the feasibility of Long-Term Firm Transmission Rights resulting from the

          withdrawal of the Duke Companies from MISO; and (3) the Duke Companies'

          agreement to pay PJM approximately $1 million as compensation for PJM's costs

          incurred in connection with the Duke Companies' transition to PJM ("PJM

          Integration Costs").



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                 "Wholesale Transmission Customers" means all entities receiving

          wholesale transmission service from PJM for electrical load in the DEOK Zone,

          either directly or indirectly as members of AMP, Buckeye, East Kentucky, or IMPA.

                                              ARTICLE Ill

                 3.1.   PJM Transition Costs and Internal Integration Costs. Effective

          January 1, 2012, the Duke Companies' revenue requirement for wholesale

          transmission service provided by PJM for electrical load in the DEOK Zone shall

          exclude one hundred percent (100%) of PJM Transition Costs and Internal

          Integration Costs. This one hundred percent (100%) exclusion of such costs shall

          not be subject to change at any time or for any reason.

                 3.2.   Legacy MTEP Costs

                 a.     During the period beginning January 1, 2012 and through the day

          before the date this Settlement Agreement becomes effective in accordance with

          Section 4.3, the charges for wholesale transmission service for electrical load in

          the DEOK Zone shall exclude one hundred percent (100%) of Legacy MTEP

          Costs. The exclusion of one hundred percent (100%) of such costs shall not be

          subject to change at any time or for any reason.

                 b.     On and after the date this Settlement Agreement becomes effective

           in accordance with Section 4.3 and continuing for so long as the Duke Companies

           remain subject to Legacy MTEP Costs, the charges for wholesale transmission

           service for electrical load in the DEOK Zone shall exclude seventy percent (70%)

           of any Legacy MTEP Costs, and shall include thirty percent (30%) of any Legacy

           MTEP Costs. The Duke Companies shall maintain in effect throughout such period

           tariff records that reflect the exclusion of seventy percent (70%) of such costs
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          from, and the inclusion of thirty percent (30%) of such costs in, the charges for

          such wholesale transmission service. The exclusion of seventy percent (70%) and

          inclusion of thirty percent (30%) of such costs shall not be subject to change at

          any time or for any reason.

                 c.      Nothing herein shall affect the payment obligation of a Wholesale

          Transmission Customer with respect to PJM RTEP Costs included in the charges

          for wholesale transmission service that PJM provides in the DEOK Zone, nor shall

          anything herein obligate the Duke Companies to provide reimbursement to any

          Wholesale Transmission Customer for all or any portion of PJM RTEP Costs

          included in the charges for wholesale transmission service that PJM provides in

          the DEOK Zone.

                 3.3.    Return on Common Equity

                 a.      On and after the date this Settlement Agreement becomes effective

          in accordance with Section 4.3 and continuing until changed by order of the

          Commission, the return on common equity ("ROE") in the Duke Companies'

          revenue requirement for wholesale transmission service shall be a total of 11.38%,

          consisting of a 10.88% base cost of common equity and a 0.5% ROE adder as

          permitted by Commission policy for participation in a regional transmission

          organization (hereinafter, the "Base/RTO ROE"), subject to the rights reserved in

          the proviso of Section 3.3.b.

                  b.     The Duke Companies shall make no unilateral filing seeking an

          increase in the Base/RTO ROE that would become effective before June 1, 2017.

           No Settling Party shall make a unilateral filing seeking a reduction in the



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          Base/RTO ROE that would become effective before June 1, 2017, nor shall any

          Settling Party support a request made by any other entity seeking a reduction in

          the Base/RTO ROE that would become effective before June 1, 2017; provided,

          however, that the Settling Parties (or any of them) shall not be precluded from

          making or supporting a filing to eliminate the 0.5% ROE adder if the Duke

          Companies terminate their participation in an RTO before June 1, 2017.

                 c.     Nothing herein shall affect either (i) the right of the Duke Companies

          to request an incentive ROE adder applicable to any specific transmission project

          or projects, if and as consistent with Commission policy, that would become

          effective before June 1, 2017, or (ii) the right of any Wholesale Transmission

          Customer to oppose such a request.

                 3.4    Tariff Provisions.

                 a.     Effective January 1, 2012, the tariff records included as Exhibit B to

          this Settlement Agreement shall replace and supersede the tariff records included

          in PJM Tariff Attachments H-22 and JJ that were filed in this proceeding on

          October 14, 2011 and May 24, 2012. Not later than 30 days after the date this

          Settlement Agreement becomes effective in accordance with Section 4.3, the

          Duke Companies shall submit the tariff records included in Exhibit B to the

          Commission through eTariff as a compliance filing. The Settling Parties shall not

          oppose or protest a filing made by the Duke Companies in conformity with this

          Section 3.4.a.

                  b.       Effective on the date this Settlement Agreement becomes effective in

           accordance with Section 4.3, the tariff records included as Exhibit C to this



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          Settlement Agreement shall replace and supersede the tariff records included in

          PJM Tariff Attachments H-22 and JJ that are attached as Exhibit B to this

          Settlement Agreement. Not later than 30 days after the date this Settlement

          Agreement becomes effective in accordance with Section 4.3, the Duke

          Companies shall submit the tariff records included in Exhibit C to the Commission

          through eTariff as a compliance filing. The Settling Parties shall not oppose or

          protest a filing made by the Duke Companies in conformity with this Section 3.4.b.

                 3.5.   Tariff Charges.

                 a.     None of the Settling Parties shall initiate a proceeding for the

          purpose of seeking a change in the charges for Legacy MTEP Costs that are in

          conformance with Section 3.2, nor shall any of the Settling Parties, in any

          proceeding initiated by others, support a change in the charges for Legacy MTEP

          Costs that are in conformance with Section 3.2.

                 b.     No Settling Party shall initiate a proceeding for the purpose of

          seeking a reduction in the charges to Wholesale Transmission Customers for PJM

          RTEP Costs on the ground that Wholesale Transmission Customers are paying for

           Legacy MTEP Costs; nor shall any Settling Party, in any proceeding initiated by

           others, support a reduction in the charges to Wholesale Transmission Customers

          for PJM RTEP Costs on the ground that Wholesale Transmission Customers are

           paying for Legacy MTEP Costs.

                 3.6.   Satisfaction of Claims for Recovery of Legacy MTEP Costs. The

           Duke Companies agree that payment of the amounts of any Legacy MTEP Costs

           included in the rates to Wholesale Transmission Customers in the PJM Tariff, as



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          provided for in Section 3.2, fully satisfies and discharges any claimed right of the

          Duke Companies to recover from Wholesale Transmission Customers Legacy

          MTEP Costs or any other costs, charges or fees arising from or relating to the

          Duke Companies' participation in MISO prior to January 1, 2012. Accordingly, the

          Duke Companies shall not make any filing seeking recovery from any Wholesale

          Transmission Customer of Legacy MTEP Costs or any other costs, charges, or

          fees arising from or relating to the Duke Companies' participation in MISO prior to

          January 1, 2012, beyond or in addition to the recovery provided for in Section 3.2.

                 3. 7   Resolution of All Hold Harmless Obligations. The Settling Parties

          agree that (a) the considerations provided by the Duke Companies under this

          Settlement Agreement to the Wholesale Transmission Customers are in resolution

          of "hold harmless" claims made by any Settling Party pursuant to Article V,

          Section 2 of the MISO TOA and resolve all claims raised by any Settling Party in

          these proceedings; and that (b) the obligation of the Duke Companies to provide

          such considerations is contingent upon this Settlement Agreement becoming

          effective in accordance with Section 4.3. The Duke Companies' compliance with

          the terms of this Settlement Agreement shall fully satisfy and discharge any and all

          obligations of the Duke Companies to render payment to any Settling Party

          according to the terms of Article V, Section 2 of the MISO TOA in connection with

          the Duke Companies' withdrawal from MISO, and such satisfaction and discharge

           shall not be affected by any amendment, substitute or successor to that provision,

           or any amendment, substitute or successor to the PJM Formula Rate filed in this

           proceeding. Each of the Settling Parties agrees not to make any protest or raise



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          any claim against the Duke Companies or their parents or affiliates, before any

          government agency or court, asserting that the Duke Companies or their parents

          or affiliates owe any of the Settling Parties, respectively, any further "hold

          harmless" or other compensation under Article V, Section 2 of the MISO TOA, or

          any other monies or damages of any nature in connection with the Duke

          Companies' withdrawal from the Midcontinent ISO.

                 3.8.   Withdrawal of Rehearing Request. Within five (5) days of the date of

          this Settlement Agreement, the Duke Companies and AMP shall request that the

          Commission hold in abeyance their respective May 24, 2012, and October 18,

          2013 requests for rehearing in this proceeding pending action on this Settlement

          Agreement. In the event that this Settlement Agreement becomes effective

          pursuant to clause (a) of the first sentence of Section 4.3, then within five (5) days

          of the date that this Settlement Agreement becomes effective, the Duke

          Companies and AMP shall withdraw their respective May 24, 2012, and October

          18, 2013 requests for rehearing in this proceeding. In the event that this

          Settlement Agreement becomes effective pursuant to clause (b) of the first

          sentence of Section 4.3, then within twenty (20) days of the date that this

           Settlement Agreement becomes effective the Duke Companies and AMP shall

           withdraw their respective May 24, 2012, and October 18, 2013 requests for

           rehearing in this proceeding. In the event that this Settlement Agreement does not

           become effective pursuant to Section 4.3, then the Duke Companies and AMP

           may, at their individual options, withdraw their respective requests that the




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          Commission hold in abeyance their respective May 24, 2012, and October 18,

          2013 requests for rehearing in this proceeding.

                                              ARTICLE IV

                4.1.    Scope of the Agreement. This Settlement Agreement constitutes the

          entire agreement among the Settling Parties with respect to the subject matter

          addressed herein, and supersedes any and all prior or contemporaneous

          representations, agreements, instruments and understandings between them,

          whether written or oral. There are no other oral understandings, terms, or

          conditions, and none of the Settling Parties has relied upon any representation,

          express or implied, not contained in this Settlement Agreement. Nothing in this

          Settlement Agreement should be construed as negating or fulfilling the obligations

          or responsibilities of the Duke Companies or any of the Wholesale Transmission

          Customers under the PJM Tariff or PJM Agreements.

                 4.2.   Non-Severability. The Settling Parties agree and understand that the

          various provisions of this Settlement Agreement are not severable and shall not

          become operative unless and until this Settlement Agreement and the revised tariff

          records provided for herein become effective as described in Section 4.3.

                 4.3.   Effectiveness of Settlement Agreement. This Settlement Agreement

          and the provisions hereof shall become effective upon (a) the issuance of an order

          by the Commission accepting or approving this Settlement Agreement without

          condition or modification, or (b) the issuance of an order by the Commission

          accepting or approving this Settlement Agreement with condition(s) or

          modification(s), if no Settling Party files notice with the Commission within fifteen

          (15) days of the approval of the Settlement Agreement stating that it objects to
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          such condition(s) or modification(s). If any Settling Party files such notice, the

          Settlement Agreement shall be null and void and of no force or effect.

                 4.4.   Reservations. Notwithstanding the provisions of Sections 4.2 and

          4.3, the provisions of Section 3.8 (holding of request for rehearing in abeyance),

          Section 4.6 (confidentiality of settlement discussions), and Section 4.7

          (assurances of cooperation) shall become effective upon execution of the

          Settlement Agreement.

                 4.5.   No Precedent. This Settlement Agreement is submitted pursuant to

          Rule 602 of the Commission's Rules of Practice and Procedure, 18 C.F.R. §

          385.602 (2014), and is inadmissible as evidence in any proceeding except a

          proceeding involving a claim of breach of, or an effort to enforce, this Settlement

          Agreement. It is further understood and agreed that this Settlement Agreement

          constitutes a negotiated agreement and, except as explicitly set forth herein, no

          Settling Party shall be deemed to have approved, accepted, agreed or consented

          to any principle or position in this proceeding.

                 4.6.   Settlement Discussions. The discussions between and among the

          Settling Parties that have produced this Settlement Agreement have been

          conducted with the explicit understanding, pursuant to Rule 602 of the

          Commission's Rules of Practice and Procedure, 18 C.F .R. § 385.602 (2014), that

          all offers of settlement and discussions relating thereto shall be privileged and

          confidential, shall be without prejudice to the position of any Settling Party or

          participant presenting any such offer or participating in any such discussion, and




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          are not to be used in any manner in connection with this proceeding, any other

          proceeding, or otherwise, except to the extent necessary to enforce its terms.

                 4. 7.   Further Assurances. Each Settling Party shall cooperate with and

          support, and shall not take any action inconsistent with: (i) the filing of this

          Settlement Agreement with the Commission, and (ii) efforts to obtain Commission

          acceptance or approval of this Settlement Agreement without change or condition.

          No Settling Party shall take any action that is inconsistent with the provisions of

          this Settlement Agreement.

                 4.8.    Waiver. No provision of this Settlement Agreement may be waived

          except through a writing signed by an authorized representative of the waiving

          Settling Party or the waiving Settling Parties. Waiver of any particular provision of

          this Settlement Agreement shall not be deemed to waive any other provision or

          provisions hereof.

                 4.9.    Modifications/Standard of Review. Unless the Settling Parties

           otherwise agree in writing, any modification to this Settlement Agreement

           proposed by one of the Settling Parties after the Settlement Agreement has

           become effective in accordance with Section 4.3 shall, as between them, be

           subject to the "public interest" application of the just and reasonable standard of

           review set forth in United Gas Pipe Line Co. v. Mobile Gas Serv. Corp., 350 U.S.

           332 (1956) and Federal Power Commission v. Sierra Pacific Power Co., 350 U.S.

           348 ( 1956) (the Mobile-Sierra doctrine), as clarified in Morgan Stanley Capital

           Group, Inc. v. Public Util. Dist. No. 1 of Snohomish County, Washington, 128 S.Ct.

           2733, 171 L. Ed. 2d 607 (2008) and refined in NRG Power Mktg. v. Maine Pub.



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          Utils. Comm'n, 130 S. Ct. 693, 700 (2010). Any modification proposed by the

          Commission acting sua sponte or by a non-Settling Party shall be subject to the

          just and reasonable standard.

                 4.10. Successors and Assigns. This Settlement Agreement is binding

          upon and for the benefit of the Settling Parties and their successors and assigns.

                 4.11. Captions and References to Sections. The captions in this

          Settlement Agreement are for convenience of reference only and are not a part of

          this Settlement Agreement and do not in any way limit or amplify the terms and

          provisions of this Settlement Agreement and shall have no effect on its

          interpretation. Unless otherwise indicated, references to "Sections" in this

          Settlement Agreement refer to sections in this Settlement Agreement.

                 4.12. Ambiguities Neutrally Construed. This Settlement Agreement is the

          result of negotiations among, and has been reviewed by, each Settling Party and

          its respective counsel. Accordingly, this Settlement Agreement shall be deemed

          to be the product of each Settling Party, and no ambiguity shall be construed in

          favor of or against any Settling Party based on authorship of this Settlement

          Agreement.

                 4.13. Authorization. Each person executing this Settlement Agreement on

          behalf of a Settling Party represents and warrants that he or she is duly authorized

           and empowered to act on behalf of, and to authorize this Settlement Agreement to

           be executed on behalf of, the Settling Party that he or she represents.

                 4.14. Notices. All notices, demands, and other communications hereunder

           shall be in writing and shall be delivered to each Settling Party's "Corporate



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          Official" as found on the Commission's website at http://www.ferc.gov/docs-

          filing/corp-off.asp or the representative(s) of each Settling Party included on the

          official service list in Docket Nos. ER 12-91-000 and ER 12-92-000.

                 4.15. Counterparts. This Settlement Agreement may be executed in one

          or more counterparts, each of which shall be deemed to be an original and all of

          which together shall be deemed to be one and the same instrument.

                 4.16   Termination of Prior IMPA Settlement Agreement. Effective on the

          date that this Settlement Agreement becomes effective in accordance with Section

          4.3, the April 5 Settlement shall be terminated, and shall be of no force or effect.




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                   IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

             Agreement to be duly executed.

                   DUKE ENERGY OHIO, INC.

                   By     h tJ~                           Date   IO.J-11·1 ;f
                   DUKE ENERGY KENTUCKY, INC.

                   By:    ~ d. ~ Date:                           /0 • ~"1· l'f
                   AMERICAN MUNICIPAL POWER, INC., ON BEHALF OF ITSELF AND ITS
                   MEMBERS

                   By:                                    Date: - - - - -

                   BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

                   By:                                    Date: _ _ __

                   THE DAYTON POWER AND LIGHT COMPANY

                   By:                                    Date: - - - -

                   EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
                   ITSELF AND ITS MEMBERS

                   By:                                    Date: - - - -

                    INDIANA MUNICIPAL POWER AGENCY

                    By:                                   Date: - - - -

                    CITY OF HAMILTON, OHIO

                    By:                                   Date: - - - - -

                    VILLAGE OF BLANCHESTER, OHIO

                    By:                                   Date: - - - - -




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                      IN WITNESS WHEREOF, the Settling Parties have caused this Settlement

                Agreement to be duly executed.

                      DUKE ENERGY OHIO, INC.

                      By:                                   Date: _ _ __

                      DUKE ENERGY KENTUCKY, INC.

                      By:                                   Date: - - - -

                      AMERICAN MUNICIPAL            R, INC., ON BEHALF OF ITSELF AND ITS
                      MEMBERS

                      By:                                   Date    /o   /41  ZPI,;
                      BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

                      By:                                   Date: _ _ __

                      THE DAYTON POWER AND LIGHT COMPANY

                      By:                                   Date: - - - -

                      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
                      ITSELF AND ITS MEMBERS

                      By:                                   Date: _ _ __

                      INDIANA MUNICIPAL POWER AGENCY

                      By:                                   Date:
                                                                    ----
                      CITY OF HAMILTON, OHIO

                      By:                                   Date: _ _ __

                      VILLAGE OF BLANCHESTER, OHIO

                      By:                                   Date: _ _ __




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                      DUKE ENERGY KENTUCKY, INC.

                      By:                                   Date: - - - -

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                      MEMBERS

                      By:                                   Date: - - - -

                                    WER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

                      By:                                   Date:   1~/~L/
                      THE DAYTON POWER AND LIGHT COMPANY

                      By:                                   Date: - - - -

                      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
                      ITSELF AND ITS MEMBERS

                      By:                                   Date: - - - -

                       INDIANA MUNICIPAL POWER AGENCY

                      By:                                   Date: _ _ __

                       CITY OF HAMILTON, OHIO

                       By:                                  Date: - - - -

                      VILLAGE OF BLANCHESTER, OHIO

                       By:                                  Date: _ _ __




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                      MEMBERS
                      By:                                   Date: - - - -

                      BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

                      By:                                   Date: _ _ __

                                                            MPANY


                      EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
                      ITSELF AND ITS MEMBERS

                      By:                                   Date:
                                                                    ----
                      INDIANA MUNICIPAL POWER AGENCY

                      By:                                   Date: _ _ __

                      CITY OF HAMILTON, OHIO

                      By:                                   Date:
                                                                    ----
                      VILLAGE OF BLANCHESTER, OHIO

                      By:                                   Date: _ _ __




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                     MEMBERS

                     By:                                    Date:

                     BUCKEYE POWER, INC., ON BEHALF OF ITSELF AND ITS MEMBERS

                     By:

                     THE DAYTON POWER AND LIGHT COMPANY

                     By:                                    Date: - - - -




                     By:                                    Date: _ __

                     CITY OF HAMILTON, OHIO

                     By:                                    Date: _ _ _ __

                     VILLAGE OF BLANCHESTER, OHIO

                     By:                                    Date: _ _




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               By:                                   Date:

               THE DAYTON POWER AND LIGHT COMPANY

               By:                                   Date: - - - -

               EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
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               By:                                   Date:

               INDIANA MUNICIPAL POWER AGENCY

               By:                                   Date:   10/ w,ft4 /Jf'

               CITY OF HAMILTON, OHIO

               By:                                   Date: - - - -

               VILLAGE OF BLANCHESTER, OHIO

               By:                                   Date: - - - -




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                    By:                                        Date:
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                    By:                                        Date: _ _ __

                    EAST KENTUCKY POWER COOPERATIVE, INC., ON BEHALF OF
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                    By:                                        Date: - - - -

                    INDIANA MUNICIPAL POWER AGENCY

                    By:   _________                            Date: _ _ __




                    By:   _________                            Date: _ _ __




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               INDIANA MUNICIPAL POWER AGENCY

               By:                                  Date: - - -
                                                                        --
               CITY OF HAMILTON, OHIO

               By:                                  Date: - - - - -

               VILLAGE OF BLANCHESTER, OHIO

               By:   ~ y')'\, , ~ ~ ~               Date:    lo - fo - :).ot ~




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